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OF TEXAS







NO. WR-77,190-01






ERIC DOUGLAS, Relator


v.


 174TH JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 1122749
			

FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court. In it, he contends that he filed an application for a writ of
habeas corpus in the 174th Judicial District Court of Harris County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court. Relator contends that the
district court entered an order designating issues on September 23, 2010.

	 Respondent, the Judge of the 174th District Court of Harris County, shall file a response
with this Court by having the District Clerk submit the record on such habeas corpus application. 
 In the alternative, the trial court may resolve the issues set out in its order and then have the District
Clerk submit the record on such application. In either case, the trial court's response shall be
submitted within 30 days of the date of this order. This application for leave to file a writ of
mandamus will be held in abeyance until Respondent has submitted its response.


Filed: March 7, 2012

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